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LEGAL SERVICES OF GREATER MITAMI, INC.

Chesterfield Smith Center for Equal Justice
3000 Biscayne Boulevard, Suite 500 © Miami, Fl 33137-4129
Direct Line: (305) 438-2401 -@ Fax: (305) 572-9557 @ TDD: (305) 573-1578
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Immediate Past President

MARCIA K. CYPEN
Executive Director

SENT VIA CERTIFIED AND REGULAR U.S. MATE.
9171 1 9690 0935 0012 0305 80

José Enrique Falcon
14951 SW 82" Lane #101
Miami, Florida 33193
RE: Milady Cordero

Dear Mr. and Mrs. Falcon:

This office represents Milady Cordero. On February 21, 2007, Ms. Cordero purchased a manufactured home,
vehicle ID number FLFLH32A09663ST (the “Mobile Home”), from Carlos Zayas, your agent with the

authority to deal with the manufactured home. Ms. Cordero purchased the Mobile Home for $30,000. As part
of the purchase of the Mobile Home, Ms. Cordero agreed to pay off an outstanding lien to Green Tree

Servicing, LLC (“Green Tree”) in monthly installments until it was satisfied.

Specifically, Ms. Cordero and Mr. Zayas reached an arrangement whereby Ms. Cordero would give him $500
per month, which he would then forward to Green Tree to pay off this lien. Starting March 2007, Ms. Cordero
gave $500 to Mr. Zayas every month. However, Mr. Zayas did not forward all ofthese payments to Green Tree.
Ms. Cordero continued to give Mr. Zayas $500 a month for at least twenty-one months, but stopped when she
discovered that Mr. Zayas had failed to forward the payments to Green Tree. Upon information and belief,

Mr. Zayas only made the following payments to Green Tree:

1) $364.49 in March 2007;
2) $364.09 in May 2007;
3) $735.00 in June 2007;
4) $365.00 in July 2007;
: + 5) $365.00 in August 2007;
6) $627.95 in October 2007;
7) $365.00 in November 2007;
8) $365.00 in December 2007;

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9) $415.01 in February 2008;

10) $415.67 in March 2008;

11) $415.67 in April 2008;

12) $415.67 in May 2008;

13) $415.67 in June 2008;

14) $421.67 in July 2008;

15) $416.67 in August 2008;

16) $475.00 in September 2008;

17) $206.65 in October 2008; and,

18) $255.00 in November 2008.
TOTAL: $7,408.23

This letter is a formal demand for those moneys which you, through your agent, have, without
authorization, permanently deprived Ms. Cordero. This letter should be understood as satisfying the demand
requirement for a conversion cause of action. Ginsberg v. Lennar Florida Holdings, Inc., 645 So. 2d 490,
500-01 (Fla. 3d DCA 1994). .

Our client hereby demands $3,091.77 for which you received the benefit and denied Ms. Cordero.
This amount is for the following:

Payments received by Mr. Zayas: $10,500.00
Payments made to Green Tree: - $ 7,408.23
TOTAL: $ 3,091.77

If you fail to comply with this demand, our client may seek relief in court for damages as a result of this
conversion. Ms. Cordero neither waives nor abandons any right by sending you this demand letter prior to
filing suit.

Please confirm in writing to this office that you will comply with this letter or are disputing the
amount owed within 30 days of receipt of this letter. If you fail to confirm compliance in writing or
dispute the debt owed by that time, our office will assume the amount is valid and that you are unwilling to
return the money you owe Ms. Cordero. If you dispute this amount we will obtain verification of the debt
and: a. Copy. of said verification will be mailed to you.

Sincerely,
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Ge
Jacqueline Ledén Marco Farah .
Attorney at Law Legal Fellow

cc: Milady Cordero

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José Enrique Falcon ~

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FEDERAL LAW REQUIRES US TO NOTIFY YOU THAT THIS COMMUNICATION IS AN
ATTEMPT TO COLLECT A DEBT. ALL INFORMATION OBTAINED WILL BE USED FOR
THAT PURPOSE. IF YOU HAVE BEEN DISCHARGED IN BANKRUPTCY, THIS IS NOT AN
ATTEMPT TO COLLECT THE DEBT PERSONALLY.

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